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 1   BERNDT INGO BRAUER
     ATTORNEY AT LAW
 2   STATE BAR NO. 96699
     111 WEST ST. JOHN STREET
 3   SUITE 555
     SAN JOSE, CA 95113
 4   TEL: (408) 275-1290 FAX: (408) 275-1396
 5   Attorney for Defendant
     GUADALLUPE AGUILAR BARRON
 6
 7
 8                               IN THE UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      ) Case No.: 1-06-CR247 AWI
                                                    )
12                  Plaintiff,                      ) ORDER TO EXONERATE BOND
                                                    )
13            vs.                                   )
                                                    )
14   GUADALLUPE AGUILAR BARRON                      )
              Defendants                            )
15                                                  )
                                                    )
16
17      The Court having read and considered the declaration of Berndt Ingo Brauer and the exhibits
18   and records attached thereto, and
19      GOOD CAUSE APPEARING,
20      IT IS HEREBY ORDERED that the property bond for $250,000.00 set by the Court on
21   August 28, 2006 pertaining to the Deed of Trust for 532 Moray Way, Patterson, CA 95363
22   (APN: 048-045-037) filed by Trustors Lorena Barron, Eva Barron, and Gumercindo Barron with
23   the Stanislaus County Clerk-Recorder on July 21, 2006 as document number 010932600 is
24   hereby exonerated.
25
26
27   IT IS SO ORDERED.
28   Dated:    June 17, 2010
                                          CHIEF UNITED STATES DISTRICT JUDGE
                                                 -1-
                                          Order to Exonerate Bond
                    Case 1:06-cr-00247-DAD Document 144 Filed 06/18/10 Page 2 of 2


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                                               Order to Exonerate Bond
